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USDC SDNY
DOCUMENT
ELECTRONICALLY FILED
DOCH:
UNITED STATES DISTRICT COURT DATE FILED: _70- 76-20
SOUTHERN DISTRICT OF NEW YORK
x
United States of America,
ORDER
19-CR-493 (ALC)
-against-
Adalgisa Montilla,
x

 

ANDREW L. CARTER, JR., United States District Judge:

The Sentencing scheduled for October 22, 2020 is adjourned to January 14, 2021 at
11:30 a.m.

SO ORDERED.

Dated: New York, New York

_— [Andre Cg

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 
